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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

   In re:                                      :
                                                 Docket #17cv4327
     DARDASHTIAN, et al.,                      : 1:17-cv-04327-LLC-JCF

                          Plaintiffs,          :

      - against -                              :

     GITMAN, et al.,                           : New York, New York
                                                 September 27, 2017
                          Defendants.          :

   ------------------------------------ :

                          PROCEEDINGS BEFORE
                   THE HONORABLE JAMES C. FRANCIS,
            UNITED STATES DISTRICT COURT MAGISTRATE JUDGE

   APPEARANCES:

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                                              Re-      Re-
    Witness              Direct    Cross    Direct    Cross    Court

    None

                              E X H I B I T S

    Exhibit                                                          Voir
    Number     Description                              ID    In     Dire

    None

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2              THE CLERK:      This is Dardashtian v. Gitman.

3    Counsel, please state your name for the record.

4              MR. GUAGLARDI:      Good afternoon, Your Honor -- or

5    morning, Barry Guaglardi and Evan Ostrer on behalf of the

6    plaintiffs.   And Judge, I want to apologize.         We were

7    running late this morning.      We were coming in from New

8    Jersey and there was an accident on the bridge so we got

9    stuck a little.    I apologize to the Court.

10             MR. OSTRER:      Good morning, Your Honor.

11             THE COURT:      Good morning.

12             MS. DITLOW:      Good morning, Your Honor, Lindsay

13   Ditlow and my colleagues Brian Cousin, Mark Meredith from

14   the law firm Dentons on behalf of defendants David Gitman,

15   Accel Commerce, Dalva Ventures and Channel Reply, Inc.

16             THE COURT:      Good morning.

17             MS. DITLOW:      Good morning.

18             MR. COUSIN:      Good morning.

19             MR. MEREDITH:      Good morning, Judge.

20             MR. GILBERT:      Good morning, Your Honor, Edward

21   Gilbert from Morrison & Cohen on behalf of the defendants

22   Falk and Summit Rock Holdings.

23             THE COURT:      The purpose of this conference is

24   really to take stock.     At our last meeting I had the

25   impression that the issues that the parties had initially
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2    raised were largely resolved.       But then when I shook the

3    tree, I had the impression there appeared to be additional

4    issues outstanding.    So my agenda today is to identify what

5    those issues are and determine the best way to move forward

6    with them.    So I’m happy to hear from you.

7                MR. GUAGLARDI:     Thank you, Judge.     So I guess in

8    no particular order of importance, we had sent the letter

9    that was dated September 20th to Your Honor.          And the first

10   issue was to determine whether or not Channel Reply, Inc.

11   was in fact dissolved.       We have since received paperwork

12   from the defendants indicating that it has been dissolved.

13   And when we were here before Your Honor the last time, we

14   hadn’t received all of the paperwork.        Subsequent to that,

15   we did receive it.    And so that issue appears to have been

16   resolved.

17               We overheard before Judge Stanton -- I overheard,

18   I thought Mr. Gitman say that he had taken action to reserve

19   either a domain name or trademark the name Channel Reply.

20   It’s been represented to me by counsel, that in fact has not

21   happened, and that there’s been no appropriation of the

22   intellectual property trade name Channel Reply.          So we

23   accept counsel’s representation on that issue.

24               When we left Your Honor the last time, there was

25   going to be the sale of one of the plaintiff companies MDAP
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2    (phonetic).    And Judge Stanton removed Mr. Gitman as a

3    manager and appointed Mr. Dardashtian, who is seated to my

4    left, as a manager and appointed the corporate accountant as

5    the co-manager, Mr. Leman (phonetic).

6               And so we undertook to go through and consummate

7    the sale of NDAP, and we did it with a lot of obstruction

8    from Mr. Gitman.    But we eventually were able to sell the

9    company.   So the company’s been sold, and the proceeds of

10   the company are presently in the company’s bank account and

11   have not been distributed.

12              THE COURT:    What company’s bank account?

13              MR. GUAGLARDI:     MDAP, plaintiff MDAP.       The monies

14   from the sale of the company have been placed into the

15   company’s bank account, which is the plaintiff MDAP.                I can

16   give Your Honor the specific company bank account if Your

17   Honor wants.    Oh, I apologize, my mistake.       It’s in the

18   attorney trust account.

19              THE COURT:    That makes more sense.       I’m not sure

20   how you sell something and then put --

21              MR. GUAGLARDI:     Jeffrey Rothman is a corporate

22   accountant and it’s in his -- corporate attorney and it’s in

23   his trust account where they remain.

24              THE COURT:    Okay.

25              MR. GUAGLARDI:     And there’s been no application
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2    that’s been made for the distribution of those proceeds.

3    And I understand that that’s an issue that’s been raised by

4    the defendant.   And because of the various issues that have

5    been undertaken in this matter before it got to Your Honor,

6    and all of the position we take -- the obstruction, the

7    attorney’s fees, everything that’s gone on to get Mr. Gitman

8    in compliance -- we want that money held until we have a

9    hearing where we have a settlement on the distribution of

10   that money.

11             Because we believe that that money should not be

12   distributed to Mr. Gitman because of his various variations

13   of law.   We’d rather have that money in trust until we have

14   a time that the Court makes a determination on the

15   disposition of that money.      And as we sit here today,

16   there’s been no relief sought by the defendant formally for

17   the distribution of that money.

18             THE COURT:     I’m a little perplexed as to what the

19   legal basis is for holding money as to which Mr. Gitman is

20   presumably entitled to 50 percent.

21             MR. GUAGLARDI:      Well the basis would be that

22   there is an operating agreement that governs MDAP.              And the

23   operating agreement states clearly that if either member

24   violates the terms of the operating agreement, that they’re

25   going to be responsible for attorney’s fees relating to
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2    bring whatever that violation is into compliance.           And in

3    this case, there have been numerous violations by Mr. Gitman

4    of that operating agreement, many of which this Court has

5    found as a basis in entering the restraints that have

6    entered on June 8th, June 9th, June 19th, June 21st.

7              So it would be, we believe, imprudent to release

8    the money to Mr. Gitman when in fact Mr. Gitman may owe the

9    money back either to Mr. Dardashtian or to the company

10   itself because the company and/or Mr. Dardashtian having

11   incurred expenses relating to Mr. Gitman’s violations of

12   law.

13             THE COURT:     How much money is in the account?

14             MR. GUAGLARDI:      Thirty thousand, approximately,

15   is in the trust account because as a result of the sale,

16   there were accounts payable that had to be paid prior to the

17   net sale proceeds.

18             THE COURT:     And how quickly is that going to

19   disappear if you’re fighting whether some of it should go to

20   attorney’s fees?

21             MR. GUAGLARDI:      I don’t believe that any of it’s

22   going to disappear.    It’s been placed in trust, so the

23   intent was not to use the proceeds until subject to the

24   court order.

25             THE COURT:     I guess the better way to say it is
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2    how fast are you going to run up bills to $30,000 fighting

3    over $30,000?

4              MR. GUAGLARDI:      I don’t think -- I think the real

5    issue is, Judge, the amount of money that has been expended

6    to get Mr. Gitman in compliance through Judge Ramos and

7    Judge Stanton, has well exceeded the 30,000.         So there is

8    no, you know, at this point, the fight has happened.                The

9    issues of noncompliance have been addressed by three judges

10   in this court, including Your Honor, who last had to bring

11   this to Gitman in compliance.      And at this juncture, now

12   that Mr. Gitman is no longer a manager, there has been peace

13   within the company.     And the company is operating without

14   headache and without obstruction, which is one of the bases

15   why we would never agree to allow Mr. Gitman to jump back in

16   as a manager.

17             Because when he was, there was nothing other than

18   a multitude of problems, violations, misappropriation,

19   formations of new companies.      And one of the biggest issues

20   that we have before Your Honor now is we have a broker who

21   was part of the sale of MDAP, some at Rock Holdings and

22   their principal Falk.     And they were seeking to be paid

23   $110,000 as a result of that sale.

24             Mr. Falk is also affiliated with Mr. Gitman and

25   one of the co-defendants Accel Commerce, who was restrained
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2    by this Court when they found out that Mr. Gitman was with

3    Mr. Falk.    So as a result of that affiliation, we entered

4    into negotiations with counsel for Summit Rock and Falk, who

5    seated at the table.     And we were able to negotiate with him

6    and settle the matter as it results to Summit Rock, and

7    Falk, and the plaintiff MDAP, and the rest of the

8    plaintiffs, and Mr. Gitman to resolve all of the claims as

9    between each of them, and to reduce the $110,000 commission

10   to 55,000.

11               And we entered into a settlement agreement.             And

12   by entering into it, I mean we prepared one.          It went back

13   and forth multiple times between Mr. Dardashtian as the

14   manager and counsel for Falk, to the point where we’ve

15   agreed on the settlement agreement.        Mr. Gitman, by virtue

16   of his 50 percent ownership in the business benefits, as

17   does Mr. Dardashtian in the reduction of the commission and

18   the settlement despite the fact that we settled and we

19   agree, counsel for Mr. Gitman refuses to enter into the

20   settlement agreement.     They do so based on language in the

21   settlement agreement that has nothing to do with the

22   substantive settlement.     It’s got to do with how we

23   characterize who owns Channel Reply.

24               And the reason -- and we had a conference before

25   we came to Your Honor to talk about -- like a meet-and-
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2    confer to find out what the deal is.        So we found out that

3    the reason that they disagree with the language is because

4    they take the position that the plaintiff Cooper Square

5    Ventures does not own Channel Reply.        That’s the position

6    they take.    That’s what was advanced to me.        I said, who

7    owns it?     And they said, well, Gitman owns it and

8    Dardashtian owns it.     And they agreed to give a sweat equity

9    position to the Russian developer, who’s a defendant in the

10   case, of 5 percent.

11               And I said what are you talking about?        There’s no

12   document that says that.      And they produced a text that said

13   that might be something that happens in the future,

14   depending upon a number of different events.          It never

15   happened.    This developer was the developer that Mr. Gitman

16   went and flew to the Ukraine for, to take the source code of

17   Channel Reply and bring it and form a new business Channel

18   Reply, Inc. -- which Judge Stanton said to vaporize and

19   which has been since resolved -- and try and loop him in as

20   a 5 percent owner and make the argument that he is.

21               So the now, Gitman and Dardashtian, instead of

22   owning 50-50 are now 47-1/2 each.        Add the 5 percent to the

23   Russian developer, and now Gitman tries to control a

24   majority even though this Russian developer who got sued,

25   and who quit before we were before Your Honor, and tried to
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2    work with getting into misappropriate the source code, is

3    now working back as an independent contractor calmly for Mr.

4    Dardashtian with no problem.

5                So now, where we have the settlement of the Falk

6    matter, they’re trying to undermine it because of language

7    that has nothing to do with the Falk matter strategically to

8    create an argument later that there is no 50-50 ownership so

9    we can be back before this Court again on the issue of who

10   owns this company.     And that is the last thing we want to

11   do.     It’s got nothing to do with resolving this matter, the

12   Falk matter, and it’s just creating more litigation.

13               And what I did was I told counsel for Gitman, how

14   can you take the position that plaintiff Cooper Square

15   Ventures does not own Channel Reply, and show me what

16   documents you rely on that disagree with the language that

17   counsel for Falk and us have agreed to?         And they sent me a

18   text.

19               In the meantime, the Cooper Square Venture’s tax

20   returns that were filed with a K-1 that went to Mr. Gitman

21   are the only thing that report all the income from Channel

22   Reply.    Channel Reply is a software solution; it’s not its

23   own independent entity.      Because when my client formed

24   Channel Reply, LLC -- not Channel Reply, Inc. -- Channel

25   Reply, LLC, Mr. Gitman wouldn’t sign off on it.           So the
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2    actual operating business is owned by Cooper Square

3    Ventures.     Every dollar of its income is reported in Cooper

4    Square Ventures and it’s in their bank account.           It’s

5    reported on their tax return of which Mr. Gitman gets his K-

6    1 as a 50-50 owner, and I have copies of these documents for

7    Your Honor.

8                The terms of service for Channel Reply, that every

9    customer gets, says right in it that the contracting party

10   is Cooper Square Ventures and that Channel Reply is Cooper

11   Square Ventures.     Here’s the document that Mr. Gitman

12   created with Mr. Dardashtian that today and has always been

13   the only document used for every customer it has.

14               THE COURT:    I guess at this stage, I’m still in

15   the agenda-setting mode.      As I understand it, you’ve

16   identified two issues so far that we still need to take care

17   of.   One is the disposition and the proceeds in the attorney

18   trust account from the sale of MDAP and the other is the

19   settlement of the --

20               MR. GUAGLARDI:     Falk.

21               THE COURT:    Thank you, for Summit Rock and Falk.

22               MR. GUAGLARDI:     Correct.

23               THE COURT:    What else?

24               MR. GUAGLARDI:     Well the defendants brought up

25   reinstating Mr. Goodman as a co-manager, which we
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2    strenuously, vehemently, and absent a hearing, would never

3    agree to.    Because all we see is headaches and problems into

4    the future and back in this court.

5                THE COURT:    Okay.    What else?

6                MR. GUAGLARDI:      That’s it.

7                THE COURT:    Let me hear from --

8                MR. GUAGLARDI:      Thank you, Your Honor.

9                THE COURT:    -- Mr. Gitman’s counsel.

10               MS. DITLOW:      Thank you.   I just wanted to take a

11   moment to correct some of the misstatements that plaintiff’s

12   counsel --

13               THE COURT:    Please don’t.      Let’s talk about the

14   agenda.

15               MS. DITLOW:      Sure, absolutely.    So in regards to

16   the disposition of proceeds, as we’ve said, they have been

17   held.     We also would like to have an understanding --

18   plaintiff’s counsel mentioned that accounts payable from the

19   sale proceeds were made.       We’ve never been informed of that,

20   per Judge Stanton’s orders.       We were supposed -- both Mr.

21   Gitman and his counsel were supposed to be kept in the loop.

22   We are unaware that any distributions have already been

23   made.     We’d like to understand what those are.       And as we

24   have done all along, request that any of the sales proceeds

25   be distributed accordingly.
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2                We don’t believe that formal application needs to

3    be made, as Your Honor pointed out.        They are both 50-50

4    owners.    There is nothing that would require and essentially

5    to hold on to those sale proceeds claiming that they might

6    be entitled to them down the road.        There’s nothing short of

7    impermissible self-help.      So we don’t think that they should

8    be able to hold on to them and the proceeds should be

9    distributed.    We’d also like a copy of the trust agreement,

10   as that, again, has never been provided to us, something

11   that should’ve been done per Judge Stanton’s orders.

12               In regards to the settlement of Mr. Falk --

13               THE COURT:     Before we leave that --

14               MS. DITLOW:    Sure.

15               THE COURT:     -- if you get distribution what do

16   you need the trust agreement for?

17               MS. DITLOW:    Well we’d like to see it.        I mean,

18   again, this is paperwork that should have been already

19   provided to us.     We were unaware where the proceeds were

20   entirely held and these payments that have been made to

21   them.     Mr. Gitman, as 50 percent owner, should be kept in

22   the loop and as his counsel, we should be as well.           And I

23   think it would just be prudent for us to have the paperwork

24   that is available to plaintiff’s counsel.

25               MR. GILBERT:     Judge, can I just add one thing on
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2    that?   If distributions have already been made pursuant to

3    an agreement that we haven’t seen, they may have been made

4    improperly.   And looking at the agreement, we might have a

5    cause of action against either the trustee or beneficiary or

6    both, based on the trust agreement.

7               THE COURT:     Okay.   Go ahead.

8               MS. DITLOW:     Regarding the Summit Falk settlement

9    agreement there were extensive negotiations.          However, we

10   proposed a red line to address some of the issues with very

11   specific wording, and that was never responded to by

12   plaintiff’s counsel.     The next e-mail we received was a

13   signed settlement agreement by Mr. Dardashtian and Mr. Falk.

14   However, the specific language that we have issue to is that

15   it’s factually inaccurate, and it’s factually inaccurate by

16   Mr. Dardashtian’s own admission.

17              So based on that and, Your Honor, if I may, I’d

18   like to show you the e-mail or text that Mr. Guaglardi

19   referred to which it says is by Mr. Dardashtian to Mr.

20   Bagaev and says, “As discussed, the plan is to give you a 5

21   percent equity stake in the business.”         The subject of this

22   e-mail is Channel Reply options.        “I’m working with our

23   attorney to get the paperwork in place.         Right now it is a

24   bit too expensive to proceed with formal options, plan and

25   package.   Please bear with us as we continue to work on the
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2    issue.   Know that your contribution to the company is vital

3    and we look at you as a partner.        Regards, Michael

4    Dardashtian.”

5              So based on that -- and we believe there’s also a

6    similar communication and similar promise to the developer

7    Olesksii Glukharev of 2.5 percent, and which we’d also

8    request documents concerning -- that that bets the question

9    that CSV is not the whole owner of Channel Reply.           And

10   because of that, we have proposed language that is now

11   acceptable to Mr. Falk, and which Mr. Dardashtian has not

12   responded to, which we proposed that would enable all

13   parties to sign off on the settlement agreement.           But

14   however, as mentioned, we have not heard from plaintiff’s

15   counsel on that.

16             MR. GUAGLARDI:       If I may, Judge, I think it’s

17   important for the Court to just hear a very brief response

18   on that so that the Court could put it in context.           As to

19   the sale, the first issue, the sale price was 450,000.            In

20   the contract for sale that Mr. Gitman approved it says in

21   the contract $100,000 is to be paid to one of their

22   suppliers.   So in the contract it was approved, they know

23   it, there’s no question about it.        So that was authorized.

24             The remaining money, except the 30,000, hasn’t

25   been received by the company.       Under the terms of the
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2    agreement, it’s paid over time in the future, and they know

3    that as well because they signed the contract.          So any

4    position that there’s money in the bank where they haven’t

5    been aware is absolutely false.       We sent the contracts to

6    counsel, they were negotiated back and forth -- these

7    contracts.   They are fully aware of these contracts.            In

8    fact, we wouldn’t close the deal because we didn’t want the

9    exposure without getting an approval from counsel for

10   Gitman.   They knew the 100,000 was paid and they know that

11   the balance is paid over time.        It’s all in the contract.

12             THE COURT:      And is the balance going to be net to

13   the owners, that is --

14             MR. GUAGLARDI:       Yes.

15             THE COURT:      -- there’s no other outstanding debt

16   that will have to be paid out of the --

17             MR. GUAGLARDI:       Yes, other than the fee to Falk.

18             THE COURT:      Right.

19             MR. GUAGLARDI:       Yeah, other than -- the 100,000

20   was already agreed to and has been paid.         The Falk, we have

21   negotiated from 110 to 55.      The balance is net money that

22   goes to the parties which has been in escrow, which is going

23   to be paid over time under the terms of the agreement, of

24   which they’re well aware.      So any position on that, that

25   they didn’t know that, is absolutely untrue, completely
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2    untrue.    That’s the first thing.

3                The second thing, which I think the Court can now

4    see, they are holding hostage the settlement of the Falk

5    deal.     And by the way, counsel -- it’s on this side of the

6    table other than counsel for Falk, the other three

7    attorneys, they represent Mr. Gitman.         They don’t represent

8    the two Russian developers, although they’re advocating on

9    the two Russian developers’ behalf.        So that should spell

10   largely -- large volumes to the Court.

11               Three attorneys that represent a 50 percent owner

12   are advocating that that 50 percent owner should be diluted

13   because of a Russian developer by at least half of the 5

14   percent to the one.     And now I quietly just heard, even

15   though there’s no e-mail, that the other Russian developer

16   had a similar deal.     So they’re advocating for the Russian

17   developers on a similar deal, with no documents, and an e-

18   mail without a signed agreement of any kind.          And they’re

19   only doing it for one reason, for the same reason that they

20   did that brought us to Judge Ramos when they were trying to

21   take the intellectual property and slide it to Mr. Gitman in

22   a new company, and when Mr. Gitman flew to the Ukraine to

23   bring the two Russian developers as partners in the new deal

24   with him, to exclude Mr. Dardashtian.         So they lost so far

25   in this court and were restrained.        They were told to
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2    vaporize Channel Reply, Inc., which they since dissolved.

3               They then interfered in every way they could and

4    this Court shut them down completely as a result of our

5    efforts.   And now, now that we have them out, and we’re

6    running the business normal, and the one Russian developer

7    Mr. Bagaev, Konstantyn Bagaev, has now since come back to

8    the company and said, sorry, I want to do business with your

9    guys and work for you.

10              We have an independent contractor agreement that

11   Mr. Bagaev signed, although we can’t seem to find the signed

12   copy which was not in our possession that Mr. Bagaev

13   operated under and got paid under, and say anything he did

14   was a work-for-hire for the company, and he worked as an

15   independent contractor for the company.         And what he did for

16   the company was the company’s trade secret and the company’s

17   intellectual property.

18              So now that we shut it down, finally were calm,

19   Mr. Bagaev is back because he knows he can’t go with Mr.

20   Gitman.    Now Mr. Gitman wants to get back in the company,

21   start it all over again, and is now trying to take a

22   position advocating for the two Russian developers to dilute

23   his own interest.     Why would anybody want to dilute their

24   own interest?

25              MR. GILBERT:     I can answer that if I have a
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2    chance.

3                THE COURT:     Yes, thanks for the reply.       Go ahead.

4                MR. GILBERT:     Okay.   Thank you, Your Honor.

5    First of all, I didn’t interrupt -- we didn’t interrupt your

6    side.

7                THE COURT:     Just go ahead and talk to me.

8                MR. GILBERT:     This side of the table, Your Honor,

9    this side is on the side of truth.        That side is on the side

10   of what’s not true.      What we’re not trying to do is change

11   anything.    What we’re trying to do is establish so the Court

12   can see what the facts have always been in this case.            The

13   text message that we have demonstrates that Mr. Dardashtian

14   himself admitted that one of the Russian developers was a

15   partner and owned 5 percent of the venture.

16               We believe that there’s a similar text message,

17   which the Russian developer doesn’t have access to anymore

18   because he doesn’t have access to his texts and e-mails,

19   that shows that 2-1/2 percent was promised to him as a

20   partner as well.    This was long before any litigation was

21   brought.

22               THE COURT:     Let’s stop there.     Doesn’t that

23   dispute preclude the distribution of funds from the trust?

24               MR. GILBERT:     I don’t think so, Your Honor,

25   because the trust distribution is from the parent company
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2    which, you know, we’re not saying -- and correct me if I’m

3    wrong.   You may want to respond to that because you have

4    more of the information.

5                MS. DITLOW:    Yes, Your Honor.      So the trust

6    proceeds are regarding the sale of MDAP, which is a separate

7    entity from Channel Reply, which is what the ownership

8    dispute is relating to.      The two really don’t have any

9    issue.   Should the sale proceeds be distributed, neither one

10   of the developers would have any interest in those sale

11   proceeds.

12               MR. GILBERT:     It’s a separate entity, Your Honor,

13   and pursuant to the asset purchase agreement, the monies

14   that we’re talking about that are in the trust agreement

15   were in exchange for the sale of that particular asset, not

16   with respect to the other company that we’re discussing the

17   ownership interest in.      So I don’t know if that helps.       We

18   have a diagram.    If you’re interested, we could show you.

19               THE COURT:     Well we may ultimately need that but

20   I’m not going to resolve it at the moment, so let’s set that

21   aside.   You can go ahead and finish your agenda.

22               MR. GILBERT:     Thank you, Your Honor.      You know,

23   with regard to opposing counsel’s comment that we knew

24   everything that was going on in terms of distribution of

25   $100,000, we did see drafts of the asset purchase agreement,
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2    absolutely.    But after that was signed, and then when monies

3    were paid, we never got any courtesy, you know, any

4    information with respect to monies have come in under the

5    agreement, monies will be dispersed under a trust agreement.

6    We haven’t received any information about that and that’s

7    not proper.

8              They had a fiduciary responsibility to Mr. Gitman

9    to inform him of any distributions, even if it’s under the

10   asset purchase agreement.      Our position may very well be

11   that the asset purchase agreement does not mention the issue

12   of priority that necessarily the $100,000 should be paid out

13   prior to a distribution to Mr. Gitman.         That may very well

14   be our position.    But we’d like to know what they have

15   before they distribute it, and we never got that

16   information.

17             So with regard to opposing counsel’s comment about

18   the K-1s and that Mr. Gitman knew about what was going on in

19   the business with the filings or the tax returns or things

20   like that, that was all controlled by their side of the

21   table.   Mr. Gitman didn’t have control over the accounting,

22   the tax returns.    All those people were basically in bed

23   with that side of the table, nothing to do with Mr. Gitman.

24             So in terms of the agenda, Your Honor, because I

25   know you want to focus on that, we do believe, as we set
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2    forth in our September 19th letter that we have articulated

3    the issues that we think should be on the agenda, if you

4    look at the September 19 letter -- if you don’t have a copy,

5    Your Honor, I’m happy to give it to you.

6              THE COURT:      I have it.

7              MR. GILBERT:      We talk about the fact that Mr.

8    Gitman should be reinstated.       We believe that the original

9    order having him come out for a temporary co-manager was

10   just temporary until Mr. Gitman resolved the issues, which

11   opposing counsel has now admitted that they don’t have a

12   problem with those continuing issues.         The only thing he

13   says about that is, you know, life was really difficult with

14   Mr. Gitman.   And that’s what happens when you have a 50-50

15   joint ownership.    Life can be really difficult.

16             In fact, a lot of times no decisions can be made,

17   but that’s not really to say that Mr. Gitman should not be a

18   co-manager anymore.     That’s the house that they agreed to

19   live in, a 50-50 co-management situation, co-ownership

20   situation, without anyone else.        Once the Court’s criteria

21   for the injunctive relief has been satisfied, I fully

22   believe the Court should allow Mr. Gitman to reassume his

23   full responsibilities.

24             If at that point they can’t get anything done

25   because they’re clashing heads, that’s not wrong.           That’s
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2    what happened when they entered into a 50-50 partnership.

3    That means that the Court needs to help the parties come to

4    a resolution.     Maybe they have to sell the business, maybe

5    they have to reach a settlement, and that’s another thing

6    that we want to put on the agenda.        We would like to ask

7    Your Honor for assistance, not just to put Mr. Gitman back

8    into his position as co-manager, but to help the parties

9    resolve the disputes between them going forward.

10               We don’t want all these issues and the running of

11   the business to be resolved by Mr. Dardashtian.           Mr. Gitman

12   doesn’t trust anything that Mr. Dardashtian does and he

13   hasn’t for many months now.

14               THE COURT:     That’s a good predicate for a

15   resolution.

16               MR. GILBERT:     Well, you know, it is because it’s

17   like -- and I hate to use the example.         But if you feel that

18   your spouse is no longer trustworthy, that you can’t live in

19   the same house anymore, you have to separate; you have to

20   figure out a way.     And the Courts can help the parties reach

21   an equitable distribution in situations like that.           And

22   we’re asking for the Court’s assistance in that regard.

23               We also talked about the Falk settlement

24   agreement.    Let me just mention one thing on that.         Counsel

25   was late.     We understand he was late due to traffic.          In the
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2    meantime, we spent 45 minutes outside talking, and a few

3    minutes of that we spent with Mr. Falk’s counsel trying to

4    see if he was okay with the language that we had proposed,

5    because we hadn’t heard back from opposing counsel at all,

6    even though we proposed this language over a week ago.             And,

7    you know, we came up with a sentence, an additional

8    sentence, that we haven’t had a chance to tell opposing

9    counsel about yet, that satisfied Mr. Falk.          And he said

10   this will be fine.     It has to do with the restraints over

11   Mr. Falk as well as the characterization of the Channel

12   Reply and ownership interest.

13             So we tried to come up with language that would

14   satisfy both that side of the table and Mr. Falk’s counsel.

15   And we think we have, but we haven’t had an opportunity to

16   really ask opposing counsel about that yet because of the

17   fact that he didn’t respond to us.        You know, with regard to

18   any other issues --

19             MR. MEREDITH:       Your Honor, if I might just add, I

20   don’t want to get into a history of the relationship, but I

21   just wanted to make clear for the Court that while the

22   representation may be correct if there wasn’t some kind of

23   formal request for proceed distribution on the asset

24   purchase agreement, I myself personally wrote to Barry on

25   August 15th asking about asset proceeds distributions of the
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2    asset purchase agreement.      I called him.     I wrote him on

3    August 16th asking again about asset purchase agreement and

4    proceed distributions, and I wrote him again on August 28th,

5    again asking him about asset purchase agreement distribution

6    proceeds for both Mr. Gitman and Mr. Dardashtian.           We’ve

7    never once implied that we were only interested in

8    distributions for Mr. Gitman.

9              And so if there was a -- and none of those were

10   responded to at all, total radio silence, so I do want to

11   just point that out, Your Honor, that we have brought up the

12   issue, we have tried to resolve it to at least learn what is

13   going on, and we’ve gotten zero response.

14             THE COURT:      All right.    Well let me tell you

15   where I think we are.     This whole process was triggered by

16   Judge Stanton’s inquiry as to whether I thought that my

17   mandate had been fulfilled.       And I think my response is I’m

18   not sure because I haven’t heard from the parties since our

19   last conference, so let me find out.

20             And what I’m hearing is that there are at least

21   three open issues that may or may not relate to a

22   preliminary injunction, since that’s sort of the next step,

23   that’s the point in the litigation where we are.           So we need

24   to resolve those and those, I think, are not resolvable

25   absent an evidentiary hearing.
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2                Before we go down that route, I think a

3    significant effort should be made at trying to resolve this,

4    because the cost of further litigation is soon going to

5    outstrip the value of the property here, if it hasn’t

6    already.    In that respect, I want to set a very close date

7    for our convening and trying to get it all fully resolved.

8    What is your pleasure?       My trial that was scheduled for the

9    balance of the week has collapsed.        I have a lot of time.

10   I’m going to (inaudible).

11               MR. GILBERT:     What’s your schedule for the rest

12   of today?

13               THE COURT:     I’ve got a settlement conference that

14   is now half an hour late.       I’m going to have to deal with

15   that.   I can see you folks immediately thereafter if you

16   want to take advantage of that.

17               MR. GILBERT:     From our side of the table, we’re

18   absolutely encouraged and interested in that.

19               MR. GUAGLARDI:     We would do that as well, Judge.

20               THE COURT:     Great.   I think it may be valuable if

21   you folks take the time between now and when I can extricate

22   myself from the other settlement conference to talk among

23   yourselves.    So let me offer you this space.        I’m going to

24   use the jury room for my other settlement conference and

25   when I’m done with that, I’ll come back and see you, see
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2    where you are, and see when you think it might be most

3    productive to use me.

4              MR. GILBERT:      Thank you very much.

5              MR. GUAGLARDI:       Thank you.

6              THE COURT:      Thank you.

7              (Whereupon the matter is adjourned.)

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2                          C E R T I F I C A T E

3

4              I, Carole Ludwig, certify that the foregoing

5    transcript of proceedings in the United States District

6    Court, Southern District of New York, Dardashtian, et al.,

7    v. Gitman, et al., Docket #17cv4327, was prepared using PC-

8    based transcription software and is a true and accurate

9    record of the proceedings.

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14   Signature_______________________________

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16   Date:   October 3, 2017

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